USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 1 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 2 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 3 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 4 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 5 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 6 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 7 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 8 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 9 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 10 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 11 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 12 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 13 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 14 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 15 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 16 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 17 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 18 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 19 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 20 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 21 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 22 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 23 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 24 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 25 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 26 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 27 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 28 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 29 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 30 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 31 of 32
USDC IN/ND case 3:18-cv-00928-RLM-JEM document 17-3 filed 05/20/19 page 32 of 32
